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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                       :
                    v.                 :                 CRIMINAL ACTION FILE NO.
                                       :                 1:10-CR-519-AT/AJB
           MOSES DAMIANI (#1),         :
           JUSTIN SAULTERS (#3),       :                 (First Superseding)
           DAMON J. SAULTERS (#4),     :
           WADDELL WHITE (#5),         :
           TODD MILTON IVERY (#6), and :
           WILLIE WILSON (#7)          :
                                       :
                        Defendants.    :

                                   ORDER FOR SERVICE OF
                                REPORT AND RECOMMENDATION

                 Attached is the Report and Recommendation (“R&R”) of the United States

           Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and

           N.D. Ga. CrR. 58.1(A)(3)(a), (b). Let the same be field and a copy of the R&R,

           together with a copy of this Order, shall be served upon counsel for the parties.

                 Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections to the

           R&R within fourteen (14) days of service of this Order. Should objections be filed,

           they shall specify with particularity the alleged error(s) made (including reference by

           page number to the transcript if applicable) and shall be served upon the opposing

           party. See United States v. Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party


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           filing objections will be responsible for obtaining and filing the transcript of any

           evidentiary hearing for review by the District Court. Failure to object in accordance

           with this rule waives a party’s right to review. FED. R. CRIM. P. 59(b)(2).

                   Pursuant   to   18   U.S.C.    §   3161(h)(1)(H),     the   above-referenced

           fourteen (14) days allowed for filing objections is EXCLUDED from the

           computation of time under the Speedy Trial Act (“the Act”), whether or not

           objections are actually filed. If objections to this R&R are filed, the Clerk is

           DIRECTED to EXCLUDE from the computation of time all time between the filing

           of the R&R and the submission of the R&R, along with any objections, responses and

           replies thereto, to the District Judge. 18 U.S.C. § 3161(h)(1)(D), (H); Henderson v.

           United States, 476 U.S. 321, 331 (1986); United States v. Mers, 701 F.2d 1321, 1337

           (11th Cir. 1983). The Clerk is DIRECTED to submit the R&R with objections, if any,

           to the District Court after expiration of the above time period.

                   IT IS SO ORDERED and DIRECTED, this 23rd               day of   September   ,

           2011.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE

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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                       :
                    v.                 :                  CRIMINAL ACTION FILE NO.
                                       :                  1:10-CR-519-01-AT/AJB
           MOSES DAMIANI (#1),         :
           JUSTIN SAULTERS (#3),       :
           DAMON J. SAULTERS (#4),     :
           WADDELL WHITE (#5),         :
           TODD MILTON IVERY (#6), and :
           WILLIE WILSON (#7)          :
                                       :
                        Defendants.    :

                               UNITED STATES MAGISTRATE JUDGE’S
                              FINAL REPORT AND RECOMMENDATION

                    Pending before the Court are the pretrial motions filed by the above named

           Defendants. The Court resolves them as follows:

           I.       Moses Damiani’s Motion to Suppress Statements, [Doc. 51]

                    Moses Damiani has filed a motion to suppress statements, [Doc. 51], seeking to

           suppress statements he made to FBI agents on January 28, 2008. The Court held an

           evidentiary hearing on the motion on June 10, 2011. [Doc. 137 (hereinafter “T__”)].

           Defendant filed a post-evidentiary hearing brief, [Doc. 141], and the government

           responded, [Doc. 148]. Defendant did not file a reply brief. [See Dkt.].




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                 A.     Facts

                 On January 29, 2008, at approximately 4:30 pm, agents of the Federal Bureau of

           Investigation, according to a prearranged operations plan, interrupted a real estate

           closing occurring at a law firm conference room in the Candler Building in Atlanta, and

           arrested Shawn Dominique and Milton Wayne Hunter. T16-17, 25, 41. Pursuant to

           that operations plan, the FBI also sought to identify other participants at the closing and

           interview them. T17.

                 The operation involved 12 armed FBI agents wearing body armor with their

           badges displayed either on their waistbands or around their necks. T18, 20. Not all of

           the agents went into the conference room where the closing was taking place, but those

           that did verbally announced as they entered that they were FBI agents. T21. There

           were five to six persons in the conference room (including Defendant Damiani), and

           approximately 15 to 20 other persons in the law office. T22, 24, 25, 27. The persons

           in the closing and the others in the law offices were directed into an open area outside

           the conference room. T34. The FBI advised them that the closing was being

           investigated and that a couple of persons were to be arrested. T22, 25-26.

                 Dominique and Hunter were handcuffed and arrested. T23, 26, 28. They also

           were patted down for weapons. T27. Dominique and Hunter were asked about the

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           presence of personal belongings or luggage in the room so they would not be left

           behind. T26. One of them acknowledged that he had such items and they were taken

           with the arrestees and agents when Dominique and Hunter were removed from the law

           office. T26. No other person present was searched or patted down. T28.

                 One of the agents then announced that they would ask everyone else to identify

           themselves and that the FBI wanted to interview some of them. T28.1 Damiani was

           one of the persons in the closing in the conference room. T24, 33. An FBI agent asked

           who was Mr. Damiani and Defendant identified himself. T42. He was told that the

           FBI would like to talk to him in another room so they could have “a little bit of

           privacy.” T42, 55. The agents knew he had traveled from New York for the closing.

           T24. They did not ask if he had any luggage or personal belongings in the conference

           room. T54.

                 Interviews were conducted in offices down the hall from the conference room.

           T30. Agents Cromer and Ross asked Defendant to step with them to the room next to

           the conference room. T42. They did not search or pat him down and did not touch

           him. T43. The room was 15 feet by 10 feet and contained a table in the middle and

           chairs. Windows overlooked the city and the wall to the hallway either had windows

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                        A total of five persons were interviewed. T31.

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           or a glass door to the hallway. Damiani was seated closest to the door with his back to

           the hallway, and the agents occupied two other sides of the table. T44, 54.

                 Cromer and Ross introduced themselves to Damiani and showed him their

           credentials. T44. They advised him he was not under arrest. T44. They advised him

           they wanted to ask him a few questions about the closing and how he got involved in

           it, T44, but only Cromer asked questions. T56. Damiani explained how he got involved

           and that he had his father-in-law’s power of attorney to purchase the properties. The

           agents also went through the settlement statement and other documents with Damiani.

           T44, 47, 48-49; see also Govt. Exhs. 3, 5A-5D.2 The agents did not go over with

           Damiani those documents he stated he had not seen before, but asked him detailed

           questions about those he stated he had seen or signed. T52. For example, Damiani

           acknowledged he signed the loan application, so he was asked to confirm that his

           father-in-law earned $27,500 per month, which he denied. T52; Gov’t Exh. 3 at 3. He

           also stated that he did not believe that Wolf’s employer or certain account balances of

           his father-in-law listed on the application were correct. T52-53; Gov’t Exh. 3 at 3.


                 2
                        While interviewing Damiani, the agents called Damiani’s father-in-law,
           Henry Wolf, who confirmed that Damiani in fact had his power of attorney for a
           closing in Atlanta. T47. At the time the agents initially entered to interrupt the closing,
           they were not aware that Wolf was Damiani’s father-in-law. T50-51.

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           Cromer did not indicate to Damiani that this was a fraud investigation or that further

           arrests would be made; rather he explained that there might be further questions in the

           future. T53. Damiani was not asked to retrieve any documents for the agents, nor did

           the agents take any documents from him. T56. They also did not ask him for

           identification because the agents already had seen Damiani’s driver’s license

           photograph in preparation for executing the operational plan. T56.

                 Agent Ross described the atmosphere of the interview as relaxed and cordial. He

           stated that Damiani was very cooperative, and that no one raised their voces or

           screamed. T48. Damiani was not handcuffed at any time. T48.

                 While Cromer and Ross interviewed Damiani, FBI Special Agent Stites came in

           and was introduced to Damiani as the case agent. Agent Kolana also came into the

           room to determine the progress of the interview. Neither Stites not Kolana asked

           Damiani any questions. T56.3




                 3
                      Cromer testified that Kolana asked him how the interview was going and
           whether Damiani’s answers were truthful. Cromer responded that they were. T56.

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                  Damiani’s interview lasted about one hour. T24, 44.4 At the conclusion of the

           interview, the agents let him know that they did not have any further questions, that

           they had his contact information, that Agent Stites was the case agent and might call

           him with additional questions, and if his telephone number changed, to contact them

           so that they could stay in touch. T44-45. They then told him he was free to leave.

           T45.

                  B.    Contentions of the Parties

                  Damiani contends that he was in custody during the questioning by Cromer and

           Ross, and thus was entitled to Miranda warnings before he was questioned, and

           therefore any of his un-Mirandized statements should not be admitted at his trial. He

           argues that the following circumstances demonstrate that a reasonable innocent person

           would have concluded that he was formally arrested or a restraint on his freedom of

           movement of the degree associated with a formal arrest: (1) entry into the conference

           room by armed and armored FBI agents, (2) who immediately handcuffed and arrested

           two persons participating in the same loan transaction as Damiani, (3) and then




                  4
                        The time between the FBI’s initial entry into the closing until the FBI
           agents left was 1½ to 2 hours. T24.


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           subjected him to extensive questioning, (4) about potentially incriminating

           documents. [Doc. 141 at 5].

                 The government opposes Damiani’s motion on the grounds that he has not

           established that he was in custody or that the restrictions on his movement were of a

           degree associated with formal arrest. It points out that (1) the interview took place in

           the offices of the closing attorney, (2) the FBI agents identified themselves and stated

           they were going to arrest two individuals and identify others they were going to want

           to interview, (3) they asked Damiani to accompany them to a room next door to the

           closing room to be interviewed, (4) they never took him out of the law offices, (5) only

           two agents spoke to him, (6) they told him he was not under arrest, (7) in the interview

           room, Damiani sat closet to the door and no agent sat next to him, (8) he was not

           restrained, (9) the agents did not handcuff, pat down or search him, nor did they touch

           Damiani, (10) they did not ask him about any luggage, (11) the agents did not ask him

           for any papers or retain any that he displayed or possessed, (12) the agents told him

           they wanted to question him about the closing and how he became involved, (13) they

           showed him documents and asked him questions about those he acknowledged he was

           aware of, (14) the atmosphere of the interview was cordial, conversational and non-

           confrontational, (15) although Damiani had traveled from New York, he did so on his

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           own accord and not because the FBI instructed him, (16) there was no indication the

           agents were going to remove him to another location or the police station.

                 C.     Applicable Law

                 The Fifth Amendment of the United States Constitution provides in relevant part

           that, “No person . . . shall be compelled in any criminal case to be a witness against

           himself.” U.S. Const. Amend. V. The Supreme Court’s decision Miranda v. Arizona,

           384 U.S. 436 (1966), and its progeny “govern the admissibility of statements made

           during custodial interrogation in . . . federal courts.” Dickerson v. United States,

           530 U.S. 428, 431 (2000). Miranda requires “that certain warnings [ ] be given before

           a suspect’s statement made during custodial interrogation [can] be admitted in

           evidence.” Id. at 431-32. Specifically, law enforcement must fully apprise the suspect

           prior to the initiation of questioning of (1) the government’s intention to use his

           statements to secure a conviction (2) his rights to remain silent and (3) to “have counsel

           present . . . if [he] so desires.” Miranda, 384 U.S. at 468-70.

                 These “Miranda safeguards come into play whenever a person in custody is

           subjected to either express questioning or its functional equivalent.”5 Rhode Island v.

                 5
                         “[T]he definition of interrogation can extend only to words or actions on
           the part of police officers that they should have known were reasonably likely to elicit
           an incriminating response.” Innis, 446 U.S. at 301 (emphasis in original). As a result,

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           Innis, 446 U.S. 291, 300-301 (1980); see also Pennsylvania v. Muniz, 496 U.S. 582,

           600 (1990); Arizona v. Mauro, 481 U.S. 520, 526 (1987). A suspect is only entitled to

           Miranda warnings when he is interrogated while in custody, because such

           circumstances are presumed to exert pressure on him to speak.             See Miranda,

           384 U.S. at 444; United States v. Lall, 607 F.3d 1277, 1284 (11th Cir. 2010).

                 The defendant bears the burden of demonstrating that he was in custody. United

           States v. de la Fuente, 548 F.2d 528, 533 (5th Cir. 1977). The test for whether a person

           is in custody is whether the suspect is “ ‘subjected to restraints comparable to those

           associated with a formal arrest.’ ” United States v. Acosta, 363 F.3d 1141, 1149

           (11th Cir. 2004) (quoting Berkemer v. McCarty, 468 U.S. 420, 441 (1984)). The

           “custody” inquiry is an objective one , that is, it is viewed from the perspective of the

           reasonable innocent person. Florida v. Bostick, 501 U.S. 429, 437-38 (1991); United

           States v. Moya, 74 F.3d 1117, 1119 (11th Cir. 1996). Since the test is objective, “the



           spontaneous and voluntary statements not made in response to any government
           questioning are not covered, or required to be excluded, by Miranda. Cannady v.
           Dugger, 931 F.2d 752, 754 (11th Cir. 1991); United States v. Suggs, 755 F.2d 1538,
           1542 (11th Cir. 1985); United States v. Savell, 546 F.2d 43, 46 (5th Cir. 1977) (Miranda
           does not cover situations “where the statements were unsolicited, spontaneous and
           freely made prior to any attempted interrogation”); United States v. Hicks,
           546 F. Supp. 2d 1378, 1381 (N.D. Ga. 2008) (Thrash, J., adopting R&R of Vineyard,
           M.J.). There is no dispute that Damiani was subjected to questioning.

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           actual, subjective beliefs of the defendant and the interviewing officer on whether the

           defendant was free to leave are irrelevant.” Moya, 74 F.3d at 1119.

                 In determining whether a person is in custody for purposes of Miranda, “[c]ourts

           must examine ‘all of the circumstances surrounding the interrogation’ and determine

           ‘how a reasonable person in the position of the individual being questioned would

           gauge the breadth of his or her freedom of action.’ ” Lall, 607 F.3d at 1284 (quoting

           Yarborough v. Alvarado, 541 U.S. 652, 663 (2004), and Stansbury v. California,

           511 U.S. 318, 322 (1994)); see also United States v. Brown, 441 F.3d 1330, 1349

           (11th Cir. 2006) (“No particular fact in the ‘custody’ analysis is outcome

           determinative—we simply weigh the totality of the circumstances.”). In assessing

           whether under the totality of the circumstances a reasonable innocent person in

           Damiani’s position would have understood his freedom of action to have been curtailed

           to a degree associated with a formal arrest, the Eleventh Circuit instructs courts to

           consider, “whether the officers brandished weapons, touched the suspect, or used

           language or a tone that indicated that compliance with the officers could be compelled,”

           United States v. Street, 472 F.3d 1298, 1309 (11th Cir. 2006) (citation and quotation

           marks omitted), as well as the location and length of the detention, Brown, 441 F.3d at

           1348 (location); United States v. Medina–Villa, 567 F.3d 507, 519 (9th Cir. 2009)

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           (duration). Moreover, the Eleventh Circuit has explained “that although a reasonable

           person in the defendant’s position may feel constrained not to leave the scene of a

           police encounter at a particular moment—and thus may be deemed to have been

           ‘seized’ by law enforcement—he will not necessarily be considered in ‘custody’ for

           Fifth Amendment purposes.’ ” United States v. Luna-Encinas, 603 F.3d 876, 881

           (11th Cir. 2010) (quoting Street, 472 F.3d at 1310).

                 D.     Analysis

                 In light of the above discussed standards, Damiani has not satisfied his burden

           to show that he was in custody, and thus he was not entitled to Miranda warnings

           before being questioned, since the circumstances of the questioning did not amount to

           a restraint on his freedom of action comparable to those associated with a formal arrest.

           First, the agents did not handcuff, search, pat down or even touch Damiani. Moreover,

           although the agents were armed and perhaps wearing protective body armor, there is

           no evidence that they brandished their weapons at any time while executing their

           operational plan, and certainly did not do so when interviewing Damiani. Cf. Moya,

           74 F.3d at 1119 (concluding that defendant was not in custody where “[n]o handcuffs

           were employed, and no guns were drawn” and citing United States v. Blackman,

           66 F.3d 1572, 1576–77 & n. 4 (11th Cir. 1995), for the proposition that even

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           handcuffing and holding a suspect at gunpoint would not necessarily constitute

           custody); see also United States v. Logan, 241 F. Supp. 2d 1164, 1177 (D. Kan. 2002)

           (finding that under totality of circumstances, defendant was not in police custody,

           noting that “[w]hile the officers may have been wearing bullet-proof vests, they did not

           draw their weapons, did not handcuff the defendant, and did not otherwise physically

           restrain him.”).

                 Moreover, the evidence is undisputed that the agents interviewed Damiani in a

           conversational, non-confrontational manner, the atmosphere was cordial and Damiani

           was cooperative. United States v. Oddo, 133 Fed. Appx. 632, 635 (11th Cir. May 19,

           2005) (holding that defendant not in custody in part because encounter was non-

           confrontational); United States v. Haffner, No. 3:09-cr-337-J-34-TEM, 2010 WL

           5296920, *8 (M.D. Fla. Aug. 31, 2010) (R&R) (no custody in part because interview

           was cordial), adopted 2010 WL 5296847 (M.D. Fla. Dec. 20, 2007).

                 In addition, it is significant that at the outset of the interview Damiani was

           advised that he was not under arrest.          T44.   See Brown, 441 F.3d at 1347

           (“Unambiguously advising a defendant that he is free to leave and is not in custody is

           a powerful factor in the mix, and generally will lead to the conclusion that the

           defendant is not in custody”) (emphasis in original).

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                 Next, the interview was not lengthy, lasting approximately one hour. Cf. United

           States v. Muegge, 225 F.3d 1267, 1269–71 (11th Cir. 2000) (no custody where

           defendant was directed by supervisor to speak with investigators at a secure site in an

           interview room with the door closed, where he was interviewed for approximately two

           and half hours, and was not formally arrested until eight months later); see also United

           States v. McDowell, 250 F.3d 1354, 1363 (11th Cir. 2001) (holding that “there is no

           fixed limit to the length of questioning” and finding four hour inquiry at Port

           Everglades not a custodial interrogation).

                 Further, although the location of the interview is not dispositive in determining

           whether the interviewee was in custody, “ ‘[c]ourts are much less likely to find the

           circumstances custodial when the interrogation occurs in familiar or at least neutral

           surroundings, such as the suspect’s home.” Brown, 441 F.3d at 1348 (quotation marks,

           citation, and emphasis omitted); United States v. Lanni, 951 F.2d 440, 442 (1st Cir.

           1991) (stating that a court should consider whether the suspect was questioned in

           “familiar or at least neutral surroundings” (quotation marks omitted)) (cited with

           approval in Brown, 441 F.3d at 1348); see also United States v. Blackwell,

           182 Fed. Appx. 812, 815 (10th Cir. May 31, 2006) (finding as a significant factor in no-

           custody conclusion that defendant voluntarily followed the agents to the second-floor

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           conference room). Here, the interview occurred in a law office conference room, and

           Damiani had voluntarily and without coercion form the government traveled to the law

           offices earlier that day for a real estate closing.

                  Nor did Damiani at any point ask to leave the premises, or inform the agents that

           he did not wish to comply with any of their requests. See Luca-Encinas, 603 F.3d

           at 882; United States v. Phillips, 812 F.2d 1355, 1362 (11th Cir. 1987) (concluding that

           defendant was not in custody because, inter alia, he “never requested a lawyer or to

           terminate the interview”).

                  Additionally, that Damiani was a “focus” or target of the agents’ investigation

           did not require that Miranda warnings be given to her prior to the questions being

           asked. See United States v. Manor, 936 F.2d 1238, 1241 (11th Cir. 1991) (“The

           Supreme Court has clearly stated that Miranda is not implicated simply because an

           individual is the subject or target of an investigation.”) (citing Minnesota v. Murphy,

           465 U.S. 420, 431 (1984)). The Supreme Court has stated that “[e]ven a clear statement

           from an officer that the person under interrogation is a prime suspect is not, in itself,

           dispositive of the custody issue, for some suspects are free to come and go until the

           police decide to make an arrest.” Stansbury, 511 U.S. at 325.




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                 The totality of circumstances therefore do not demonstrate any evidence of

           “extensive restraints” comparable to those associated with a formal arrest. Brown,

           441 F.3d at 1348. As a result, the Court concludes that Damiani’s interview “did not

           involve the type of ‘highly intrusive’ coercive atmosphere that may require Miranda

           warnings even before a formal arrest is made. The totality of the circumstances were

           such that a reasonable person in his position would not have believed that he was

           utterly at the mercy of the police, away from the protection of any public scrutiny, and

           had better confess or else. No Miranda warnings were required at the time.” Acosta,

           363 F.3d at 1150.

                 For these reasons, the undersigned RECOMMENDS that Damiani’s motion to

           suppress statements, [Doc. 51], be DENIED.

           II.   Willie Wilson’s Preliminary Motion for Disclosure of Items or Statements

           Arguably Subject to Suppression and Motion to Suppress, [Doc. 120]

                 Willie Wilson seeks to suppress any evidence sized from him and any statements

           made by him to law enforcement. [Doc. 120]. At the June 13, 2011, pretrial

           conference, Wilson was given until June 27, 2011, to perfect or supplement his motion,

           and was advised that failure to do so would result in the Court treating the motion as

           withdrawn. [See Doc. 129]. As of the date of this Order and R&R, Wilson has not

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           perfected his motion or sought additional time to do so. [See Dkt.]. As a result, the

           motion should be treated as withdrawn.

                  Even if not treated as withdrawn, the motion is insufficient as a matter of law.

           “A motion to suppress must in every critical respect be sufficiently definite, specific,

           detailed, and nonconjectural to enable the court to conclude that a substantial claim is

           presented. . . . A court need not act upon general or conclusory assertions. . . .” United

           States v. Cooper, 203 F.3d 1279, 1284 (11th Cir. 2000) (quoting United States v.

           Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985) (internal citations omitted)).

           Wilson’s motion is a boilerplate motion which fails to assert facts (as opposed to legal

           conclusions) which if proven would entitled him to relief.

                  Accordingly, the undersigned RECOMMENDS that Willie Wilson’s motion to

           suppress, [Doc. 120], be DENIED.

           III.   Todd Milton Ivery’s Amended Motion to Suppress, [Doc. 133]6

                  In this motion, Ivery challenges the probable cause to issue two search warrants,

           issued April 24, 2008, and February 17, 2009, neither of which were attached to the

           motion.

                  6
                        Ivery’s motion is styled as an “amended” motion but he had not filed a
           prior motion to suppress in this matter. He may have been referring to a motion to
           suppress he filed in a related case, see Doc. 115 in No. 1:10-CR-412-4-WSD-ECS.

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                 A.     The Contentions of the Parties

                 Ivery contends that the warrants, allowing searches of five Yahoo email

           accounts, including one associated with him, were completely devoid of probable

           cause, and as such are not saved by the good faith exception to the exclusionary rule

           as set out in United States v. Leon, 468 U.S. 897 (1984). [Doc. 133 at 2-3].

                 The government contends that the warrant applications demonstrated probable

           cause. It attached the two search warrants in question to its response. [Doc. 138].

                 B.     Discussion

                        1.    The Search Warrants

                 The first search warrant application sought authorization to search Yahoo’s

           records to obtain records and account information for five email accounts:

           smileygiggstreasure@yahoo.com, smaddison0112@yahoo.com, allbig30@yahoo.com,

           toddivery@yahoo.com, and gr_investmentsatl@yahoo.com.1.                See Warrant

           No. 1:08-MJ-457-LTW (N.D. Ga. Apr. 24, 2008) [Doc. 138-1]. In the affidavit in

           support of the application for Warrant No. 1:08-MJ-457-LTW, FBI Special Agent

           Stites detailed a complex mortgage fraud scheme involving three straw

           purchasers/borrowers - Shawn Dominique, Milton Wayne Hunter and Henry Wolf -

           who were to purchase 20 units of a property known as 425 Chappell Road, Atlanta,

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           Georgia. [Doc. 138-1 at 5]. Part of the scheme involved the use of straw purchasers

           and inflated appraisals. [Id. at 4]. He related that straw purchasers have no interest in

           purchasing the properties, but are being paid for the use of their identities. [Id.]. The

           inflated appraisals involved inflated comparables and bogus liens on the property to

           hide the fact that the appraisals were inflated. [Id.].

                 The affiant also related information received from John Ellison, a local mortgage

           broker, Rosemary Canales, a fraud investigator for the lender, Wells Fargo Bank, and

           reviewed Wells Fargo Bank records and Home Tech Mortgage records. [Id. at 3]. The

           information from these sources disclosed that in January 2008, Scott Addison, the

           owner of 425 Chappell Road, a multi residential unit complex, had sales contracts to

           sell 20 units of Chappell Road to Shawn Dominique, Milton Hunter and Henry Wolf

           for approximately $300,000 each or a total of about $6,000,000. [Id. at 5]. Ellison

           advised Agent Stites that he had been contacted by Waddell White who identified

           himself as a broker and who provided him with the initial personal identifying

           information for Dominique, Hunter and Wolf - names, social security numbers, dates

           of birth, addresses. [Id.]. Ellison also provided Stites with copies of the loan

           applications and supporting documents for the Dominique, Hunter and Wolf




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           transactions that had been submitted to Ellison and Wells Fargo Bank, and the income

           and the employers listed in the loan applications were false. [Id. at 5-8]. Stites also

           determined that the brokerage account assets listed in the loan applications for

           Dominique, Hunter and Wolf did not exist. [Id.].

                 Stites also determined that in Wolf’s loan application, one of the supporting

           documents was a Verification of Deposit [VOD] of a money market account of

           $902,675.57 by Willie Wilson of Conceptual Consultants. [Id. at 7]. Wilson was one

           of the bogus lien holders for 425 Chappell Road. During the closings which were to

           be held on January 29, 2008, the closing attorney provided John Ellison with title

           search documentation listing liens recorded on July 27, 2007, on the units by WT&G

           Property Management, Inc. - one of Willie Wilson’s companies, and B.I.G. Holdings,

           LLC - a company owned by Derrick Harris. [Id. at 4-5, 8]. Agent Stites determined the

           liens were actually released on December 28,2007. [Id. at 8]. When asked about the

           liens, the seller, Scott Addison, told John Ellison that the liens would be placed back

           on the properties before closing. [Id.].

                 The affidavit further provided that on January 29,2008, FBI agents went to the

           closings at the attorney’s office in Atlanta, Georgia and interrupted them. [Id. at 9].

           Dominique and Hunter were arrested. [Id.]. During post-arrest interviews, Dominique

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           and Hunter admitted to the agents that they were being paid for the use of their names

           to purchase the Chappell Road properties. [Id.] Both Dominique and Hunter told the

           agents they knew that all the qualifying information contained in their loan applications

           was false. [Id.]. Damiani also was interviewed. [Id.]. Damiani had a power of

           attorney for his father-in-law, Henry Wolf. [Id. at 8]. Damiani also told the agents that

           all the qualifying information contained in Wolf’s loan application was false. [Id. at 9-

           10].

                  The affidavit also provided that during the course of their investigation, the

           agents learned that a number of e-mails were sent back and forth to Ellison and others

           regarding the loan transactions and that a number of the emails were sent on

           Yahoo.com, which stored emails on their central servers.            [Id. at 10-11, 12].

           On     N o v e mb e r   26,   2007,    Ellison      received      an   e - ma i l   from

           smilleygiggstreasure@yahoo.com purporting to be from Dominique regarding false

           verification of the down payment monies for the units to be purchased by him.

           [Id. at 12-13]. On November 13, 2007, Ellison received an email purporting to be from

           Hunter allbig30@yahoo.com containing false information concerning the employment

           of Hunter. [Id. at 12].




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                   Stites also swore that he received information from Ellison that the seller, Scott

           Addison, communicated with Ellison about the status of the review of the borrowers’

           qualifications and was very concerned about the lender’s verification of the tax return

           information that was submitted on behalf of Dominique, Hunter and Wolf. [Id. at 13-

           15]. Ellison provided Stites copies of emails that he received from Addison

           <smaddison0112@yahoo,.com> urging him to find lenders that would not verify the

           tax return information of Dominique, Hunter and Wolf . [Id. at 12, 13-14].

                   The supporting affidavit then recounted that on the day of the closing,

           January 29, 2008, Wilson, one the bogus lien holders on 425 Chappell Road, provided

           Stites with copies of emails that he had regarding the transactions. The first email was

           an email chain. The first email in the chain was sent on November 30, 2007, from

           tairon mossy <allbig30@yahoo.com> to gr_investments@yahoo.com. This email

           contains name, address, DOB, SSAN information for Dominique, Hunter and Wolf.

           That email requests Verification of Deposits (V.O.D.) for Dominique, Hunter and Wolf

           and lists the amount for Wolf - $833,000, for Hunter - $380,550, for Dominique

           $425,000, each and how long it should be purported to have been in each account - all

           over 90 days. [Id. at 15]. The second email in the chain was dated November 26,

           2007,    and    it   was   sent   from tairon     mossy    <allbig30@yahoo.com>        to

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           waddellwhite@bellsouth.com, and that email forwarded the first email described above

           plus EIN and bank information for Hunter and Dominique. [Id.]. Waddell White was

           the “broker” who provided the initial identifying information to Ellison about

           tairon mossy <allbig30@yahoo.com>, and according to the seller his fee would not

           appear on the closing documents. [Id. at 5, 8]. The third email in the chain an email,

           dated December 26, 2007, was from Waddell White <waddellwhite@bellsouth.com>

           to the Defendant Ivery <toddivery@yahoo.com>, and forwarded the first two

           emails. [Id. at 15-16]. Along with the emails, White wrote Ivery, “Here is the bank

           info for your man. Read below.” [Id. at 16]. The fourth email, dated December 26,

           2007, was from Defendant Ivery <toddivery@yahoo.com> to genesis3113@aol.com.

           [Id. at 16]. That forwarded the first three emails in the chain. [Id.].

                 Wilson also provided Stites with an additional email chain. The first email in the

           chain dated December 26, 2007, from Genesis3113@aol.com to Defendant Ivery

           <toddivery@yahoo.com> contained the following text: “For these amount [sic] see if

           you can get $1500 per VOD and you keep $1500. Will.”                 [Id.].   The “Will”

           <Genesis3113@aol.com> presumably is Wilson. In the second email in the chain on

           December     26,   2007,    to   Genesis3113@aol.com         from    Defendant    Ivery,

           <toddivery@yahoo.com>, his response was, “Ok let me work on it.” [Id.]. The third

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           email in the chain on December 26, 2007, from Genesis3113@aol.com to Defendant

           Ivery, <toddivery@yahoo.com>, asked, “Have you already given them a price?” [Id.].

           The final email in the chain is a response dated December 26, 2007, from

           Defendant Ivery, <toddivery@yahoo.com>, to Genesis3113@aol.com, stating,

           “Nope.” [Id.]. Thereafter, Wilson provided a VOD for Wolf of $902,675.57, dated

           January 7, 2008, from Conceptual Consultants, which in turn is given to Ellison and to

           Wells Fargo Bank. [Id. at 7-8].

                  As for the second search warrant, No. 1:09-MJ-221-AJB, issued by the

           undersigned, Stites’ affidavit in support, [Doc. 138-3], discussed another mortgage

           fraud scheme involving straw purchaser/borrower, Heather Moomey. Stites noted that

           he    previously   obtained    a   search     warrant   for     Defendant     Ivery’s

           <toddivery@yahoo.com> email account as to another mortgage fraud scheme, and

           upon execution, had reviewed emails in the account from 2002 through April 24, 2008,

           and that his review revealed numerous false bank statements attached to the emails.

           [Id. at 3].

                  Stites then described the mortgage fraud scheme which involved straw borrower

           Heather Moomey who in late 2008 early 2009, applied for a loan with Quicken Loan

           to purchase a property in Lawrenceville, Georgia for $265,000. [Id.]. Quicken Loans

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           provided federal law enforcement agents with the sales contract and Moomey’s loan

           application package with supporting documentation. [Id.]. The supporting documents

           included a Bank of America bank statement with a balance of $49,520.26 as of

           December 24, 2008, a Verification of Employment from Marketing Communications

           Group with a reported gross monthly income of $9,165 and IRS forms W-2 for 2006

           and 2007, reflecting an annual income of $105,139.12 and $108,012.13 respectively.

           [Id.]. Stites noted that Quicken Loans determined from the IRS that Moomey had no

           reported income for 2006 or 2007. [Id. at 4]. Bank of America advised Stites that

           Moomey had no bank account with them. [Id.]. The Georgia Department of Labor

           advised Stites that Moomey had no reported earnings from Marketing Communications

           Group. [Id.]. The closing documents listed the real estate agent as Andrew Phan, the

           seller’s broker as Sarah Hyldahl, who was to received a $75,000 commission at closing

           and the buyer’s real estate agent as Patrice Hairston, who was also to receive a

           commission. [Id.]. On January 22, 2009, the closing was to take place at an attorney’s

           office in Lawrenceville, Georgia. [Id.]. Federal law enforcement agents advised

           DeKalb County Police of their investigation. [Id.]. As a result, the DeKalb County

           Police went to closing attorney’s office, interrupted the closing and arrested Moomey,

           Hyldahl, and Hairston. [Id.].

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                 Stites interviewed Moomey and she advised him that the information in the loan

           application and the supporting documentation was false. [Id.]. Stites interviewed

           Hyldahl and Hairston who advised him that they were business partners and they

           admitted providing the false loan documentation for Moomey. [Id. at 5]. Hyldahl

           purchased the false Bank of America statements from a black male named “TI” who in

           a second interview she identified as Defendant Ivery. [Id.]. Hyldahl also told Stites

           that Ivery had provided her with false Bank of America statements for two other loans

           that had closed with Quicken Loans. [Id.]. Hyldahl provided Stites with a copy of an

           email dated December 13, 2008, from Defendant Ivery, <toddivery@yahoo.com>, to

           sarah shydahl <shyldahl@yahoo.com> with an attached file containing two false Bank

           of America statements for Moomey. [Id. at 5-6].

                        2.    Applicable Law

                 Search warrants are presumed to be validly issued. Franks v. Delaware,

           438 U.S. 154, 171 (1978). The burden of establishing that the warrants in this case

           were defective or executed improperly is upon Defendant. Id.; United States v. Van

           Horn, 789 F.2d 1492, 1500 (11th Cir. 1986); United States v. Marx, 635 F.2d 436, 441

           (5th Cir. Unit B 1981); United States v. Osborne, 630 F.2d 374, 377 (5th Cir. 1980).




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                 The task of a judge issuing a search warrant “is simply to make a practical,

           common-sense decision whether, given all the circumstances set forth in the affidavit

           before him . . ., there is a fair probability that contraband or evidence of a crime will be

           found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). The task of

           a reviewing court in examining a challenge to a search warrant is different.

           In determining whether a search warrant is supported by probable cause, a reviewing

           court is not to conduct a de novo determination of probable cause, but only to determine

           whether there is substantial evidence in the record supporting the judge’s decision to

           issue the warrant. Massachusetts v. Upton, 466 U.S. 727, 728 (1984); United States v.

           Miller, 24 F.3d 1357, 1363 (11th Cir. 1994) (“[R]eviewing courts lend substantial

           deference to an issuing magistrate’s probable cause determinations.”). When affidavits

           are attached to a warrant, courts consider the affiant’s statements as well as the search

           warrant. See United States v. Martinelli, 454 F.3d 1300, 1308 (11th Cir. 2006). In

           reviewing the probable cause determination, supporting affidavits should not be

           interpreted in a hypertechnical manner; rather, a realistic and commonsense approach

           should be employed so as to encourage recourse to the warrant process and to promote

           the high level of deference traditionally given to magistrates in their probable cause

           determinations. See Gates, 462 U.S. at 236-37 (citing United States v. Ventresca,

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           380 U.S. 102, 109 (1965)); Miller, 24 F.3d at 1361. When it is difficult to determine

           whether a search warrant affidavit supports probable cause, “the resolution of doubtful

           or marginal cases in this area should be largely determined by the preference to be

           accorded to warrants.” Upton, 466 U.S. at 734 (quoting Ventresca, 380 U.S. at 109).

                 Probable cause to support a search warrant exists when the totality of the

           circumstances allow a conclusion that there is a fair probability of finding contraband

           or evidence at a particular location. See United States v. Kapordelis, 569 F.3d 1291,

           1310 (11th Cir. 2009). “[P]robable cause is a fluid concept--turning on the assessment

           of probabilities in particular factual contexts[.]” Gates, 462 U.S. at 232. Thus, the

           determination of probable cause based on an affidavit “does not lend itself to a

           prescribed set of rules,” but instead uses a “flexible, common-sense standard.” Gates,

           462 U.S. at 240; see also United States v. McCraven, 401 F.3d 693 (6th Cir. 2005)

           (noting that “while an affidavit must state facts supporting an independent judicial

           determination that the informant is reliable, those facts need not take any particular

           form.”).

                        3.    Analysis

                 Reviewed under these standards, the two search warrants challenged by Ivery

           clearly demonstrate more than sufficient probable cause to believe that his Yahoo email

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           accounts contained evidence of Ivery’s participation in mortgage fraud. As a result of

           this conclusion, the Court need not discuss whether the Leon good faith exception to

           the exclusionary rule is applicable. Simply stated, in this case, Ivery has not met his

           burden to demonstrate that the search warrants were issued without probable cause, nor

           has he established an entitlement to an evidentiary hearing.

                 Therefore, the undersigned RECOMMENDS that Todd Milton Ivery’s

           Amended Motion to Suppress, [Doc. 133], be DENIED.

           IV.   Defendants’ Motions for Relief from Prejudicial Joinder/Misjoinder,

           Severance and Separate Trials, and to Strike Surplusage, [Docs. 48, 54, 59, 132, 144]

                 Various Defendants filed motions for relief from prejudicial joinder/misjoinder,

           severance, and separate trials, or in the alternative motion to dismiss the indictment

           (“motions to sever”): Damon Saulters, [Doc. 48]; Moses Damiani, [Doc. 54]; Justin

           Saulters, [Doc. 59]; and Waddell White, [Doc. 144].7 The Court also considers Damon

           Saulters’s amended motion for relief from prejudicial joinder/misjoinder, severance and

           separate trails, and motion to strike surplusage from the indictment. [Doc. 132]. For




                 7
                        The Court permitted Damiani, Justin Saulters, and White to adopt the
           motion to sever by Damon Saulters, [see Docs. 52, 58; Dkt. Entry dated 7/21/2011], so
           the motions to sever in this case are identical.

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           the reasons discussed below, the undersigned RECOMMENDS8 that the motion to

           sever by Damon Saulters, [Doc. 48], be DENIED AS MOOT and that motions to sever

           by Damiani, White and Justin Saulters be DENIED on the merits, [Docs. 54, 59, 144].

           The undersigned additionally RECOMMENDS that Damon Saulters’ amended motion

           to sever, [Doc. 132], be DENIED.9




                 8
                         Title 28 U.S.C. § 636 governs the powers of a magistrate judge and the
           standard of review to be applied by the district court upon appeal of a magistrate
           judge’s actions. Section 636(b)(1)(A) and N.D. Ga. CrR 59(2)(b) allow a magistrate
           judge to hear and determine pretrial matters which are not dispositive of the case. A
           motion to sever under FED. R. CRIM. P. 14 is a non-dispositive matter upon which the
           undersigned may rule by order, as opposed to a report and recommendation. See
           United States v. Bruck, 152 F.3d 40, 43 (1st Cir. 1998); United States v. Potter,
           No. 3:09-CR-138, 2010 WL 2776327, *1 (E.D. Tenn. July 14, 2010); United States v.
           Bolden, No. CR08-0001, 2008 WL 4174914, *1 n.1 (N.D. Iowa Mar. 7, 2008); United
           States v. Schneider, No. 07-CR-41, 2007 WL 2407060, *1 (E.D. Wis. Aug.20, 2007)
           (noting that “[a] magistrate judge has authority to decide nondispositive motions such
           as motions to sever”). Therefore, the undersigned would ordinarily rule on the motion
           to sever by order, but the defendants’ motions to sever alternatively request dismissal
           of the indictment. As a result, the undersigned issues a Report and Recommendation
           on the motions to sever.
                 9
                          To the extent that White actually sought to adopt Damon Saulters’s
           amended motion, [see Doc. 135 (requesting to adopt Saulters’ motion to sever at
           Document 48 and attaching this motion and its accompanying exhibits to the motion
           to adopt but also attaching Saulters’s amended motion to sever)], he is not entitled to
           relief for the same reasons that Damon Saulters is not entitled to relief.

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                 A.     Introduction

                 On December 14, 2010, a grand jury returned a four-count indictment against the

           following four defendants: Moses Damiani, Tairon Mossy, Justin Saulters

           (“J. Saulters”), and Damon Saulters (“D. Saulters”). [Doc. 1]. In Count 1, these

           defendants were charged with conspiracy to defraud Wells Fargo Bank in violation of

           18 U.S.C. § 1349. In the remaining three counts, the grand jury indicted different

           combinations of defendants with aiding and abetting and bank fraud in violation of

           18 U.S.C. §§ 2, 1344 as follows: (1) Mossy, J. Saulters, and D. Saulters were charged

           in Counts 2 and 3; and (2) Mossy, Damiani, J. Saulters, and D. Saulters were charged

           in Count 4. [See Doc. 85].

                 The original indictment was then superseded on May 17, 2011, with a four-count

           indictment. [Doc. 85]. This superseding indictment dropped Mossy10 as a defendant,

           but added three new defendants - - Waddell White, Todd Milton Ivery and Willie

           Wilson. In Count 1, all defendants were charged with conspiracy to defraud Wells

           Fargo Bank in violation of 18 U.S.C. § 1349. The remaining three counts charged

           various combinations of defendants with aiding and abetting and bank fraud in



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                       Mossy pleaded guilty to the counts in the original indictment on March 30,
           2011. [See Doc. 69].

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           violation of 18 U.S.C. §§ 2, 1344 as follows: (1) White, Ivery, Wilson, J. Saulters, and

           D. Saulters were charged in Counts 2 and 3; and (2) White, Ivery, Wilson, Damiani, J.

           Saulters, and D. Saulters where charged in Count 4. [See Doc. 85].

                 The defendants filed various pretrial motions, including the aforementioned

           motions to sever, [Docs. 48, 54, 59, 144], and D. Saulters’ amended motion for

           severance and to strike surplusage, [Doc. 132]. The government filed responses to the

           motions to sever, [Doc. 67], and to D. Saulters’s amended motion, [Doc. 139]. The

           Court considers the merits of these motions below.

                 B.     Facts

                        1.      The Actors

                 Wilson is the registered agent of Conceptual Consultants, Inc. (“Conceptual”),

           and he is the organizer of WT&G Property Management LLC (“WT&G”). [Doc. 85

           ¶ 2(a), (c)]. White is the Secretary and Ivery the registered agent of I.F.G. and

           Associates, Inc., (“I.F.G.”). [Id. ¶ 2(c)]. J. Saulters, Mossy, and D. Saulters are

           acquaintances from the New York area who recruited individuals to obtain loans with

           false qualifying information. [Id. ¶ 2(d)]. Mossy and White are cousins, and Mossy

           attended college in Atlanta in the 1990s at which time he visited White and Ivery,

           White’s business associate. [Id. ¶ 2(e)].

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                         2.     The Scheme

                  White recruited Mossy to find straw borrowers to purchase properties in a

           development at 425 Chappell Road in Atlanta, Georgia. Mossy in turn recruited

           D. Saulters and J. Saulters (“the Saulters brothers”) to find straw borrowers, including

           Shawn Dominique, Milton Hunter, and Moses Damiani. Damiani then recruited his

           father-in-law, H.W.11, as a straw borrower. [Id. ¶ 3]. Ivery recruited Wilson d/b/a

           Conceptual to provide false verifications of deposits for the straw borrowers. [Id. ¶ 4].

           White, Ivery, and Wilson provided materially false qualifying information for the straw

           borrowers to use with the lenders. [Id. ¶ 5]. The straw borrowers represented to Wells

           Fargo that they could provide a substantial down payment at the closings. [Id. ¶ 7].

           Wilson used WT&G as a fictitious lienholder on the Chappell Property units to support

           inflated appraisals, sales prices, and to conceal the disbursements of the loan proceeds

           at the closings. [Id. ¶ 6].




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                         The indictment identifies the father-in-law by initials, but based on the
           earlier discussion of the Fourth and Fifth amendment issues, it is apparent that H.W.
           is Henry Wolf.

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                        3.     The Transactions

                               a.     Milton W. Hunter, Jr.

                 J. Saulters approached Hunter to use his credit to purchase real estate. The

           Saulters brothers and Mossy informed Hunter that he would have to falsify his income

           information and place of employment to qualify for a loan to purchase property at

           16 Emerald Lane in Amityville, New York. Hunter received $10,000 for his role as a

           straw borrower on the purchase from Mossy and the Saulters brothers. [Doc. 85

           ¶ 8(A)(i)]. Hunter served as straw borrower to obtain a $440,000 loan to buy property

           at 90 Harvest Lane, Levittown, New York 11756, but the lender (a subsidiary of Wells

           Fargo) rejected Hunter’s application for insufficient credit history. [Id. ¶ 8(A)(ii)].

                 Mossy and the Saulters brothers recruited Hunter as a straw borrower to purchase

           multiple units at the Chappell Property in Atlanta, promising him payment of $50,000

           for his role. [Id. ¶ 8(A)(iii)]. In November 2007, Hunter submitted a loan application

           to Wells Fargo with false qualifying information, including assets in false investment

           accounts (Commonwealth-PMS and A.G. Edwards), false employment at and income

           with B. Inc.,12 false 2005 and 2006 W-2s, and a false 2006 income tax return, which

           was signed by Ivery as a tax preparer. [Id. ¶ 8(A)(iv)]. On January 29, 2008, Hunter

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                        B., Inc., is Babblin, Inc. [See, e.g., Doc. 138-1 at 6].

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           along with Mossy, White, Wilson, and the Saulters brothers traveled to an Atlanta

           attorney’s office to close on the Wells Fargo loans. [Id. ¶ 8(A)(v)]. At the closing,

           Hunter verified that the loan application was true and correct. [Id. ¶ 8(A)(vi)].

                        2.     Shawn Dominique

                 The Saulters brothers introduced Dominique to Mossy in November 2007 who

           sought to use Dominique’s credit to purchase multiple units at Chappell Property, at

           which time Mossy informed Dominique he would have to say he worked at B. Inc.

           earning a six-figure salary. [Doc. 85 ¶ 8(B)(i)]. In November 2007, Dominique

           submitted a loan application to Wells Fargo with false information, including false

           investment accounts (Commonwealth-PMS and A.G. Edwards accounts), false

           employment and salary with B. Inc., and fraudulent 2005 and 2006 W-2s and tax

           statements. [Id. ¶ 8(B)(ii)]. Dominique along with Mossy, White, Wilson, and the

           Saulters brothers then traveled to an attorney’s office in Atlanta for the loan closing on

           January 29, 2008. [Id. ¶ 8(B)(iii)].

                        3.     H.W.

                 After Mossy met with Damiani in 2007 to purchase properties, Damiani was

           unable to qualify for loans due to bad credit, so Damiani convinced his father in-law,

           H.W., to purchase Chappell Property units. [Doc. 85 ¶ 8(C)(i)]. A loan application was

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           submitted on H.W.’s behalf to Wells Fargo to purchase multiple Chappell Property

           units with the following false information: false investment account assets (Conceptual

           and A.G. Edwards accounts); false income and employment at B. Inc.; and false 2005

           and 2006 W-2 statements. [Id. ¶ 8(C)(ii)]. Wilson signed a request for verification in

           which he falsely attested that H.W. had a $902,675.57 money market account with

           Conceptual. [Id. ¶ 8(C)(iii)]. On January 29, 2008, Damiani, acting as the power of

           attorney for H.W., along with Mossy, the Saulters brothers, White and Wilson traveled

           to an Atlanta attorney’s office for the loan closing. [Id. ¶ 8(C)(iv)]. At this closing,

           Damiani falsely verified that the qualifying information was correct. [Id. ¶ 8(C)(v)].

                 C.     Discussion

                        1.    Motions To Sever

                              a.     Contentions of the Parties

                 The defendants state that they seek to sever allegations concerning co-defendant

           Damiani in the allegedly separate conspiracy charged in Count 1 as well as the separate

           substantive count involving Damiani in Count 4, or they alternatively request that the

           indictment be dismissed as charging one distinct conspiracy on misjoinder grounds.

           [Doc. 48 at 1-2, ¶ 10]. The defendants assert that severance is appropriate because the

           indictment only alleges that Mossy approached Damiani about getting involved in real

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           estate investing without alleging that the Saulters brothers were involved in recruiting

           Damiani. [Doc. 48 ¶ 313]. The defendants argue that the indictment has charged a

           “rimless wheel” conspiracy prohibited by United States v. Kotteakos, 328 U.S. 750

           (1946), because Mossy is the hub of the conspiracy and the Saulters brothers are part

           of one spoke and Damiani is part of a second spoke with no allegations that the Saulters

           brothers knew about or were involved in the acts relating to Damiani. [Id. ¶ 4]. The

           defendants also note that Damiani is not named in Counts 2 or 3 of the indictment and

           there are no allegations that Damiani facilitated the conspiracy to recruit Hunter or

           Dominique as part of the conspiracy. [Id.]. The defendants appear to seek to bolster

           their argument as to the unrelatedness of Damiani by pointing to discovery showing:

           (1) H.W. sought to obtain twice the credit as Hunter and Dominique combined,

           [id. ¶ 5]; (2) Hunter’s and Dominique’s statements demonstrate that Hunter only saw

           Damiani at the closings but could not name him or describe his role, and Dominique

           only recognized Damiani from the closing but had not met Damiani and had no

           knowledge of his involvement, [id. ¶ 6]; and (3) Damiani was unable to positively

           identify any other individual involved except for Mossy when shown a photo

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                        Although D. Saulters, J. Saulters, White, and Damiani have all brought
           motions to sever, the undersigned only cites to D. Saulters’ motion to sever because the
           remaining motions to sever merely adopted this motion.

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           identification, [id.]. The defendants also argue that evidence relating to Damiani’s

           activity concerning H.W. would not be admissible against the other defendants,

           resulting in a prejudicial spillover effect because the jury would not be able to

           distinguish acts of the co-defendants and those of Damiani. [Id. ¶¶ 7-8]. Finally, the

           defendants argue that a separate trial for conspiracy in Count 1 relating to Damiani and

           Mossy and the substantive Count 4 relating to Damiani would not hinder judicial

           economy because these are not complex or lengthy counts. [Id. ¶ 9]. Based on these

           problems, the defendants seek a severance of co-defendant Damiani or dismissal of the

           indictment for prejudicial joinder. [Id. ¶ 10].

                 D. Saulters further explains in a separate brief that he seeks to sever allegations

           relating to co-defendant Damiani in Count 1 and excising Count 4 from the indictment

           under both FED. R. CRIM. P. 8 and 14. [Doc. 64 at 2]. He realleges his rimless wheel

           conspiracy theory by reiterating that there are no allegations that the Saulters brothers

           knew of or participated in the scheme involving H.W. or that Damiani knew of or

           participated in the loans involving Hunter and Dominique. [Id. at 6]. D. Saulters

           argues that the case United States v. Castro, 829 F.2d 1038 (11th Cir. 1987), does not

           control because there is no connection between the first conspiracy with Mossy and the

           Saulters brothers and the second conspiracy with Damiani. [Id. at 7]. Instead,

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           D. Saulters asserts that this Court should rely on the citation in United States v. Simon,

           839 F.2d 1461, 1468 (11th Cir. 1988), to a Third Circuit case about the government’s

           need to allege the defendants had knowledge of an overall scheme. [Id. at 7-8].

           Additionally, Plaintiff asserts that the misjoinder not only violates Rule 8(b) but also

           violates Rule 14 because it will compromise the defendants’ ability to obtain a fair trial.

           [Id. at 8]. D. Saulters explains that since the conspiracy case will introduce acts and

           statements of co-conspirators, these statements relating to Damiani will be inadmissable

           against the other defendants, thereby resulting in prejudice. [Id. at 8-9]. He also asserts

           that because the alleged fraud involving Damiani and H.W. was double the fraud

           relating to Hunter and Dominique, this will prejudice him before the jury. [Id. at 9-10].

                 The government responds that the defendants are not entitled to severance under

           either Rule 8 or Rule 14 of the Federal Rules of Criminal Procedure based either solely

           on the allegations in the indictment or on additional evidence beyond that in the

           indictment. [Doc. 67 at 5-15]. First, the government argues that the defendants are

           properly joined under Rule 8. [Id. at 9-13]. The government asserts that the indictment

           does not charge an impermissible rimless wheel conspiracy because: (1) Mossy worked

           with several co-conspirators, including White, on the three sets of properties; (2) the

           three sets of properties were shopped to lenders as a group; and (3) the property

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           transactions were part of the same series of acts in that (a) they involved the same

           Chappell Property complex, (b) the loan applications were directed at Wells Fargo,

           (c) the same false employer was used on the loan applications, (d) the closings were at

           the same lawyer’s office, (e) there were substantial pay outs of loan proceeds, and

           (f) Mossy, D. Saulters, J. Saulters, Damiani, and White were at the January 28 closings.

           [Id. at 10-12]. The government also notes that the defendants selectively cited to

           discovery and ignored other evidence including that the H.W. transaction was virtually

           identical to the other closings and that Damiani was aware of the Hunter and

           Dominique transactions. [Id. at 12]. The government asserts that it is immaterial that

           Damiani was not charged with the substantive counts involving Hunter and Dominique.

           [Id. at 12-13].

                 Second, the government argues that severance is not warranted under Rule 14

           because none of the defendants will suffer compelling prejudice if tried together.

           [Id. at 14-16]. In making this argument, the government cites to case law describing

           the two circumstances in which severance is a remedy and asserts that these

           circumstances are not present in this case. [Id. at 14-15]. The government also argues

           that the defendants made a conclusory showing of prejudice. [Id. at 15-16].




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                 The defendants reply by initially arguing that the evidence offered by the

           government swelled the record but added no new facts to show that joinder was

           appropriate. [Doc. 72 at 2-4]. First, the defendants assert that while the government

           showed that Mossy shopped the real estate loans to lenders as a group, this does not

           show that there is a link between conspiracies or that the straw borrowers had

           knowledge of the scheme relating to the other straw borrowers. [Id. at 2-3]. Second,

           they assert that the warrant affidavit for the Yahoo emails indicates that Mossy and the

           Saulters brothers jointly recruited Hunter and Dominique but only Mossy recruited

           Damiani. [Id. at 3-4]. Third, the defendants argue that the government’s prior charging

           of Hunter and Dominique in separate indictments demonstrates that it was willing to

           endure two trials for the same conspiracy, so the same strategy should apply here.

           [Id. at 4]. Fourth, the defendants assert that the indictment does not plead a single

           agreement to commit an unlawful act. [Id. at 4-5]. Fifth, the defendants contend that

           the presence of the three straw buyers at the scheduled loan closing is not evidence of

           an agreement to conspire. [Id. at 6].

                 The defendants next argue that even if joinder of Counts One and Four was

           proper under Rule 8, these counts should be severed under Rule 14. [Id. at 7-9]. First,

           the defendants argue that the government would not be prejudiced from two separate

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           trials. [Id. at 7]. Second, the defendants reallege their arguments of prejudice,

           including the spillover of evidence, the confusion resulting from the admission of

           statements from two conspiracies, and the prejudice from the larger loan amount

           relating to Damiani. [Id. at 8]. Finally, the defendants reiterate their rimless spoke

           argument in that the conspiracy charged actually involves two conspiracies, one

           involving Mossy (the hub) and the Saulters brother, Hunter and Dominique (the first

           spoke) and the other involving Mossy (the hub) and Damiani (the second, unconnected

           spoke). [Id. at 9].

                                 b.   Applicable Law

                 The defendants seek severance under both FED. R. CIV. P. 8 and

           FED. R. CIV. P. 14.14 As a result, the undersigned separately summarizes the law for

           severance under both Rule 8 and Rule 14 below because “[t]he United States Supreme

           Court has noted that determinations under Rule 8 and Rule 14 are entirely separate.”

           United States v. Hernandez, 921 F.2d 1569, 1579 (11th Cir. 1991) (citing United States

           v. Lane, 474 U.S. 438, 449 n.12 (1986)).




                 14
                       “Severance applies only to counts or parties that are improperly joined.”
           United States v. Awan, 966 F.2d 1415, 1426 (11th Cir. 1992).

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                                      (i)    Rule 8

                 Joinder of defendants under FED. R. EVID. R. 8 is designed to promote judicial

           economy and efficiency.          United States v. Weaver, 905 F.2d 1466, 1476

           (11th Cir. 1990).15 It “is broadly construed in favor of the initial joinder.” United States

           v. Davis, 773 F.2d 1180, 1181 (11th Cir. 1985). Rule 8(b), as opposed to Rule 8(a),16

           governs the joinder of multiple defendants in a single indictment. United States v.

           Dominguez, 226 F.3d 1235, 1239 n.4 (11th Cir. 2000); United States v. Grassi, 616 F.2d

           1295, 1302 (5th Cir. 1978).17 The question of whether initial joinder is proper under


                 15
                        FED. R. CRIM. P. 8(b) provides as follows:

                 The indictment or information may charge 2 or more defendants if they
                 are alleged to have participated in the same act or transaction, or in the
                 same series of acts or transactions, constituting an offense or offenses.
                 The defendants may be charged in one or more counts together or
                 separately. All defendants need not be charged in each count.
                 16
                        FED. R. CRIM. P. 8(a) provides as follows:

                 The indictment or information may charge a defendant in separate counts
                 with 2 or more offenses if the offenses charged--whether felonies or
                 misdemeanors or both--are of the same or similar character, or are based
                 on the same act or transaction, or are connected with or constitute parts of
                 a common scheme or plan.
                 17
                        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
           banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the
           former Fifth Circuit handed down prior to the close of business on September 30, 1981.

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           Rule 8(b) is to be determined before trial by examination by the trial court of the

           allegations stated on the face of the indictment. Weaver, id. A court also may consider

           evidence proffered by the government before trial to show that the initial joinder was

           proper even if the indictment does not explicitly provide a connection between the

           charges. Dominguez, 226 F.3d at 1241. “A defendant who has been misjoined with

           others within the meaning of Rule 8(b) is entitled to severance as a matter of law, and

           the trial court’s discretion never enters the picture.” United States v. McLaurin,

           557 F.2d 1064, 1075 n.14 (5th Cir. 1977); see also United States v. Bova, 493 F.2d 33,

           35 (5th Cir. 1974) (“[S]everance, where there has been misjoinder, is mandatory and not

           discretionary with the district courts.”) (abrogated in part by United States v. Lane,

           474 U.S. 438 (1986)); United States v. Yearty, No. 1:08cr40-SPM, 2009 WL 1343904,

           *1 (N.D. Fla. May 8, 2009). Thus, “[i]f the indictment fails to show and the prosecutor

           fails to proffer a sufficient basis in the expected evidence to justify joinder, then a

           severance should be ordered.” Dominguez, 226 F.3d at 1241.

                 Rule 8(b) permits the joinder of Defendants in the same indictment “if they are

           alleged to have participated in the same act or transaction,” and the general rule is that

           defendants indicted together should be tried together, especially in conspiracy cases.

           See United States v. Cassano, 132 F.3d 646, 651 (11th Cir. 1998) (citing United States

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           v. Jacoby, 955 F.2d 1527, 1542 (11th Cir. 1992); United States v. Alvarez, 755 F.2d 830,

           857 (11th Cir. 1985)). “ ‘[S]eparate conspiracies with different memberships may still

           be joined if they are part of the same series of acts or transactions.’ ” Weaver, 905 F.2d

           at 1476 (quoting Grassi, 616 F.2d at 1303). “ ‘[I]n order to establish that the

           [codefendants] have engaged in the ‘same series of acts or transactions’ under Rule 8(b)

           the government must demonstrate that the acts alleged are united by some substantial

           identity of facts and/or participants.’ ” United States v. Arneth, 294 Fed. Appx. 448, 451

           (11th Cir. Sept. 18, 2008) (quoting United States v. Morales, 868 F.2d 1562, 1569

           (11th Cir. 1989)).

                 If joinder is appropriate under rule 8(b), a court should then examine whether

           severance is appropriate under Rule 14, United States v. Strollar, 10 F.3d 1574, 1578

           (11th Cir. 1994) (citing Zafiro v. United States, 506 U.S. 534 (1993)), when the

           defendant also seeks severance on Rule 14 grounds, cf. Dominguez, 226 F.3d at 1238

           n.3 (declining to discuss severance under Rule 14 where the defendant did not seek

           severance under this Rule).

                                      (ii)   Rule 14

                 Rule 14(a) of the Federal Rules of Criminal Procedure allows for severance or

           “any other relief that justice requires” if joinder “appears to prejudice a defendant or

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           the government.” FED. R. CRIM. P. 14(a). However, “there is a preference in the

           federal system for joint trials of defendants who are indicted together.” Zafiro,

           506 U.S. at 537; see also United States v. Hill, 643 F.3d 807, 828 (11th Cir. 2011);

           United States v. Alvarez, 755 F.2d 830, 857 (11th Cir. 1985) (“The general rule in [the

           Eleventh Circuit] is that defendants who are jointly indicted should be tried together,

           and this rule has been held to be particularly applicable to conspiracy cases.”).

           Rule 14(a) requires “a [district] court to balance the rights of the defendant[ ] and the

           government to a trial that is free from the prejudice” against the public interest in

           judicial economy. United States v. Novaton, 271 F.3d 968, 989 (11th Cir. 2001)

           (quotation omitted) (reviewing the denial of a codefendant severance motion).

                  A severance under Rule 14 of the Federal Rules of Criminal Procedure should

           be granted only if the defendant can demonstrate that a joint trial would result in

           specific and compelling prejudice to the conduct of his defense.18 United States v.

                  18
                          A court must find compelling prejudice, i.e., grant a severance “if there is
           a serious risk that a joint trial would [(1)] compromise a specific trial right of one of the
           defendants, or [(2)] prevent the jury from making a reliable judgment about guilt or
           innocence.” United States v. Blankenship, 382 F.3d 1110, 1122-23 (11th Cir. 2004)
           (identifying these circumstances as the “only two circumstances in which severance is
           the only permissible remedy”). As for the first situation where severance is mandatory,
           the joint trial must lead to the denial of a constitutional right. Id. at 1123. As for the
           second category where severance is mandatory, the courts have identified the following
           situations as preventing a jury from making a reliable judgment: (1) “where compelling

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           Marszalkowski, 669 F.2d 655 (11th Cir. 1982). The test for compelling prejudice is

           “whether under all the circumstances of a particular case, as a practical matter, it is

           within the capacity of the jury to follow the [instructions] and accordingly . . . appraise

           the independent evidence against each defendant’s own acts, statements and conduct.”

           United States v. Kabbaby, 672 F.2d 857 (11th Cir. 1982). A showing of compelling

           prejudice may be made by “demonstrating ‘that the jury was unable to sift through the

           evidence and make and individualized determination as to each defendant.’ ” Hill,

           643 F.3d at 828. Conclusory allegations do not satisfy the defendant’s burden, since

           courts presume that jurors can compartmentalize evidence by respecting limiting

           instructions specifying what evidence may be considered against what defendant.

           United States v. Blankenship, 382 F.3d 1110, 1123 (11th Cir. 2004) (citing United States



           evidence that is not admissible against one or more of the co-defendants is to be
           introduced against another co-defendant,” e.g., gruesome evidence against one
           defendant, such that the jurors cannot compartmentalize evidence even with a limiting
           instruction, id. at 1123-24; (2) where the “number of defendants and charges with
           different standards of proof and culpability, along with the massive volume of evidence,
           makes it nearly impossible for a jury to juggle everything properly and assess the guilt
           or innocence of each defendant independently,” id. at 1124; and (3) “where one
           defendant is being charged with a crime that, while somehow related to the other
           defendants or their overall criminal scheme, is significantly different from those of the
           other defendants,” id. at 1125. Although these three scenarios are “fairly
           comprehensive,” they are not necessarily the only factors that require severance under
           Rule 14. Id. at 1123.

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           v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997)); see also United States v. Duzac,

           622 F.2d 911, 912 (5th Cir. 1980) (in affirming denial of severance motion asserting

           grounds that codefendant might testify for defendant, holding that severance not

           necessary upon defendant’s “generalized vague and speculative assertions”).

                 In satisfying this burden, it is not enough for the defendant to show that acquittal

           would be more likely if he was tried separately, since some degree of bias is inherent

           in a joint trial. Alvarez, 755 F.2d at 857 (citing United States v. Walker, 720 F.2d 1527,

           1533 (11th Cir. 1983), and Marszalkowski, 669 F.2d at 660). Furthermore, a defendant

           does not suffer “compelling prejudice” simply because much of the evidence at trial is

           applicable only to his codefendants. Id. (citing United States v. Zielie, 734 F.2d 1447,

           1464 (11th Cir. 1984), and United States v. Berkowitz, 662 F.2d 1127, 1135 n.8 (5th Cir.

           Unit B 1981)); see also Cassano, 132 F.3d at 651 (same).

                 Even if a defendant can show some prejudice, a defendant is entitled to severance

           only if that “prejudice flowing from a joint trial is clearly beyond the curative powers

           of precautionary instruction.”      United States v. Morrow, 537 F.2d 120, 126

           (5th Cir. 1976); Puiatti v. McNeil, 626 F.3d 1283, 1310 (11th Cir. 2010) (recognizing

           that defendant seeking severance has a “heavy burden” of demonstrating compelling

           prejudice which occurs only where there is a serious risk that a joint trial (1) “would

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           compromise a specific trial right of one of the defendants,” or (2) would “prevent the

           jury from making a reliable judgment about guilt or innocence.”) (citations omitted);

           see also United States v. Walser, 3 F.3d 380, 385 (11th Cir. 1993) (recognizing that a

           court errs in denying a severance motion if the denial “result[ed] in compelling

           prejudice against which [it] could offer no protection”). It is “generally presume[d] that

           jurors follow their instructions.” Hill, 643 F.3d at 829.

                 Finally, a decision on a motion to sever under Rule 14 involves an exercise of the

           court’s considered discretion. Jacoby, 955 F.2d at 1542. This discretion means that

           there may be “a range of possible conclusions [that a] trial judge may reach,” but there

           will be no abuse of discretion as long as the court’s choice “does not constitute a clear

           error of judgment” or the court does not apply the wrong legal standard. United States

           v. Lopez, --- F.3d ----, ----, 2011 WL 3570298, *11 (11th Cir. Aug. 16, 2011) (quoting

           United States v. Frazier, 387 F.3d 1244, 1259 (11th Cir. 2004)).

                               c.     Analysis

                 The parties’ filings raise four issues: (1) whether the motions are moot;

           (2) whether joinder was proper under Rule 8(b); (3) whether dismissal of the indictment

           is an appropriate remedy; and (4) whether severance is appropriate under Rule 14. The

           undersigned addresses each issue separately.

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                                     (i)    Mootness

                 The motions to sever were filed prior to the return of the superseding indictment.

           Since the return of this superseding indictment, D. Saulters has filed an amended

           motion to sever, [Doc. 132], so the undersigned concludes that his first motion to sever,

           [Doc. 48], is moot as to him in that the amended motion to sever raises additional

           arguments stemming from the allegations in the superseding indictment, [see id.].

                 The remaining defendants - -J. Saulters, Damiani, and White - - have not sought

           to adopt D. Saulters’ amended motion to sever, so the undersigned concludes that

           D. Saulters’ amended motion to sever is not a basis for concluding that the initial

           motions to sever by J. Saulters, Damiani, and White are moot. However, the

           undersigned recognizes that the filing of the superseding indictment may be a basis for

           concluding that these defendants’ motions to sever are moot. See, e.g., United States

           v. Rodriguez-Lopez, 14 Fed. Appx. 854, 857 (9th Cir. July 13, 2001) (concluding that

           superseding indictment mooted motion to sever where it removed impediment to calling

           a co-defendant as a witness); United States v. Gendron, No. 4:08-cr-244,

           2009 WL 5909129, *1 (E.D. Mo. Oct. 28, 2009) (R&R adopted by 2010 WL 682315

           (Feb. 23, 2010). The return of a superseding indictment does not necessarily moot a

           motion to sever. See United States v. Habib, No. 93-cr-289, 1994 WL 9679 (S.D.N.Y.

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           Jan. 10, 1994) (discussing the merits of a motion to sever despite the return of a

           superseding indictment).

                 Here, the undersigned concludes that the superseding indictment does not moot

           the motions to sever by J. Saulters, Damiani, and White because the superseding

           indictment still charges Damiani in the conspiracy count and in a separate substantive

           count, thereby implicating the concerns of relatedness and prejudice raised in these

           defendants’ motions to sever. As a result, the undersigned addresses the merits of the

           motions to sever as to J. Saulters, Damiani, and White below.

                                      (ii)   Rule 8(b)

                 The defendants appear to argue that the indictment violates Rule 8(b) because it

           alleges a rimless wheel conspiracy.       The undersigned is unpersuaded that the

           superseding indictment alleges multiple conspiracies in Count 1 under this rimless

           wheel theory. The Eleventh Circuit has described this theory as follows:

                 For a wheel conspiracy to exist those people who form the wheel’s spokes
                 must have been aware of each other and must do something in furtherance
                 of some single, illegal enterprise. Blumenthal v. United States, 332 U.S.
                 539, 556–57, . . . (1947). Otherwise the conspiracy lacks “the rim of the
                 wheel to enclose the spokes.” Kotteakos v. United States, 328 U.S. 750,
                 755 . . . (1946). If there is not some interaction between those
                 conspirators who form the spokes of the wheel as to at least one common
                 illegal object, the “wheel” is incomplete, and two conspiracies rather than
                 one are charged.

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           United States v. Fernandez, 892 F.2d 976, 986 (11th Cir. 1989) (quoting United States

           v. Levine, 546 F.2d 658, 663 (5th Cir. 1977)). However, a single conspiracy exists if

           different spokes on the wheel “engaged in some interaction concerning a common

           illegal object.” Id. Stated differently, there is “a single, unified conspiracy as opposed

           to a series of smaller, uncoordinated conspiracies, [when] the government [ ] show[s]

           an interdependence among the alleged co-conspirators.” United States v. Chandler,

           388 F.3d 796, 811 (11th Cir. 2004). Such interdependence exists, inter alia, where:

           (1) the combined efforts of the spokes were required to insure the success of the

           venture; (2) one spoke depended upon, was aided by, or had any interest in the success

           of the others; (3) each spoke did not act independently and was not an end unto itself;

           (4) the actions of one spoke facilitated the endeavors of other coconspirators or the

           venture as a whole; or (5) there is evidence of an overlap of membership between the

           spokes. Id. at 811-12.

                 The allegations in the superseding indictment demonstrate an interdependence

           between the co-conspirators. White recruited Mossy to find straw borrowers to obtain

           loans relating to the Chappell Property development. Mossy in turn recruited Damiani,

           Dominique and Hunter with the purpose of defrauding Wells Fargo during the purchase

           of multiple units from the Chappell Property development. Although the defendants

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           argue that the mortgage fraud for each transaction was separate, the allegations of the

           superseding indictment suggest otherwise. First, the same sort of information was used

           in the loan applications to defraud Wells Fargo, including false investment accounts,

           the same false employer (B. Inc.), and false W-2s. Second, the property that the parties

           sought to purchase were from the same development - - Chappell Property. Third, the

           co-defendants - - White, Wilson, J. Saulters, and D. Saulters - - were at the closings for

           H.W. (where Damiani appeared with the power of attorney for H.W.), Wilson, and

           Dominique. Although the defendants argue that mere association or presence with

           conspirators is insufficient to establish membership in a conspiracy, this argument

           ignores the other allegations in the superseding indictment that demonstrate similarities

           in the fraud transactions and the fact that the fraudulent loans were all being obtained

           to make purchases of units from the same Chappell Property development. The

           undersigned concludes that these allegations from the superseding indictment

           sufficiently connect Damiani in a single conspiracy with the other co-defendants. The

           undersigned therefore finds that the government has not alleged a rimless wheel

           conspiracy.19

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                       Alternatively, the undersigned notes that the evidence submitted by the
           government with its response to the motion to sever shows an interdependence because
           the evidence submitted by the government demonstrates that the allegedly separate

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           transactions involving Dominique, Hunter, and H.W. were actually related. See
           Dominique, 226 F.3d at 1241 (allowing court to consider evidence proffered by the
           government to evaluate misjoinder under Rule 8). First, White, identifying himself as
           a broker, represented that Dominique, Hunter, and H.W. were investors from New York
           who wanted to purchase 20 units at the Chappell Property. (See Stites Aff. ¶ 17 in
           Doc. 67-1 at 5). White’s representations on behalf of the three straw borrowers
           suggests a link in the scheme to commit mortgage fraud. Second, similar information
           was used in the loan applications for Dominique, Hunter, and H.W. in that they were
           employees of Babblin, Inc., had investment accounts with A.G. Edwards and
           Commonwealth – PMS, and had high incomes with Babblin. (See id. ¶¶ 18, 22, 26 in
           Doc. 67-1 at 5-7). Again, the similarity in the type of fraudulent information used in
           the loan applications suggests that the loans for H.W., Hunter, and Dominique are not
           as separate as the defendants allege. Third, the properties to be purchased by
           Dominique, Hunter, and H.W. all had liens in the amount of $82,000 by WT&G and
           $30,000 by B.I.G. Holdings LLC that were released on December 28, 2007. (Id. ¶ 29
           in Doc. 67-1 at 8). The similarity of the liens for the three straw borrowers also links
           them in one scheme to defraud. Fourth, the appraiser for the properties to be purchased
           by H.W., Hunter, and Dominique was the same, (id. ¶ 34 in Doc. 67-1 at 8), which
           provides yet another link between the straw borrowers and a common scheme. Fifth,
           the closings involving Dominique, Hunter, and H.W. were all scheduled for January 29,
           2008 at 1:00 p.m. (Id. ¶ 35 in Doc. 67-1 at 9). Sixth, the names of the three straw
           borrowers arose in the same emails. For instance, the seller of the properties - - Scott
           Michael Addison - - made inquiries to the mortgage broker about the closings involving
           Hunter, Dominique, and H.W. in the same email. (See Stites Aff. ¶ 52(A) in Doc. 67-1
           at 32-33). The three straw borrowers’ names were found in the same November 20,
           2007, email sent from Mossy to White. (See Exh. E in Doc. 67-1 at 38). An email
           about a list of appraisals listed the names of the three straw borrowers. (See Exh. G in
           Doc. 67-1 at 43). Given this cumulative evidence in which the straw borrowers are
           linked together, the undersigned concludes that the government has proffered sufficient
           evidence of interdependence for the Court conclude that a single conspiracy exists. As
           a result, the defendants’ theory that the government has alleged a rimless wheel
           conspiracy is unpersuasive with the evidence linking H.W., Hunter, and Dominique in
           the same overall fraud scheme.

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                                     (iii)   Dismissal

                 The defendants’ request that the indictment be dismissed because there may be

           a variance in that the indictment identifies only one conspiracy but actually raises two

           conspiracies. [See Doc. 48 at 2]. As discussed above, the undersigned concludes that

           the superseding indictment charges one conspiracy. However, even if Count 1 of the

           superseding indictment charged two conspiracies, it does not appear that dismissal of

           the indictment because of a variance is the proper remedy. In United States v. Clarke,

           No. CR-07-776, 2008 WL 2228991 (E.D.N.Y. May 28, 2008) (R&R adopted by Order

           dated 6/23/2008), the District Court concluded that dismissal of the indictment was not

           an appropriate remedy for a potential variance of proof at trial, explaining:

                 The Kotteakos decision provides no support, however, for the notion that
                 the potential for a variance of proof at trial serves as grounds for
                 dismissing an indictment before trial. Rather, the decision rested on an
                 examination of the proof actually offered at the trial, and was essentially
                 a finding that the government failed to meet its burden of proving the
                 charge in the indictment. Such a decision can only be made after the
                 presentation of the government’s case at trial, and thus does not lend itself
                 to a pretrial motion to dismiss an indictment.

           Id. at *9. The Tenth Circuit has also indicated that dismissal of the indictment is not

           the appropriate remedy where multiple conspiracies emerge despite the indictment only

           describing one conspiracy. United States v. Bowline, 593 F.2d 944, 947 (10th Cir.



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           1979); see also United States v. Bin Laden, 91 F. Supp. 2d 600, 612 (S.D.N.Y. 2000)

           (stating belief that dismissal of the indictment, as opposed to a severance, is not the

           appropriate remedy where multiple conspiracies).20

                 Also, to the extent that the defendants seek dismissal because of misjoinder, it

           does not appear that dismissal of the indictment is an appropriate remedy on misjoinder

           grounds. See United States v. Ervin, No. 1:11-cr-007, 2011 WL 2551192, *4 (M.D.

           Ala. June 6, 2011) (R&R adopted by 2011 WL 2551186 (June 27, 2011) (“[A]ny

           improper joinder of Defendants does not warrant the extreme remedy of dismissal of

           the Superseding Indictment.”); cf. United States v. Goodman, 285 F.2d 378, 379

           (5th Cir. 1960) (finding that the proper relief for a misjoinder of offenses under




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                         The undersigned recognizes that the Eleventh Circuit in United States v.
           Chandler stated that “the Fourth Circuit applied Kotteakos to affirm the dismissal of
           an indictment charging a similar rimless wheel conspiracy.” 388 F.3d at 808. The
           Eleventh Circuit’s decision contains a typographical error because the decision it cited
           in making this statement - - Dickson v. Microsoft Corp., 309 F.3d 193, 203 (4th Cir.
           2002) - - was actually a civil action in which the Fourth Circuit affirmed the dismissal
           of a civil complaint, not an indictment. See Dickson, 309 F.3d at 198 (noting that
           plaintiffs appealed “the district court’s dismissal under Federal Rule of Civil Procedure
           12(b)(6)” and affirming the dismissal). As a result, the undersigned concludes that
           Chandler does not support the request to dismiss the indictment for allegedly bringing
           multiple conspiracies in one count.

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           Rule 8(a)21 was not dismissal of the entire indictment but severance of the offenses for

           separate trials).

                  Finally, although not explicitly asserted by the defendants, they may be arguing

           that Count 1 of the indictment should be dismissed as duplicitious. “A count in an

           indictment is duplicitous if it charges two or more separate and distinct offenses.”

           United States v. Seher, 562 F.3d 1344, 1360 (11th Cir. 2009) (quoting United States v.

           Schlei, 122 F.3d 944, 977 (11th Cir. 1997)). Dismissal of a duplicitious count in an

           indictment may be appropriate remedy. See United States v. Haimowitz, 706 F.2d

           1549, 1560 (11th Cir. 1983) (addressing whether district court erred in refusing to

           dismiss count one where defendant argued it alleged multiple conspiracies under

           Kotteakos).22 As discussed above, Count 1 charges one conspiracy, not multiple

           conspiracies, so the undersigned concludes that Count 1 is not duplicitous. As a result,

           dismissal of Count 1 on duplicity grounds is inappropriate.



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                        In certain cases, the Eleventh Circuit has noted that “the governing
           principles” for Rule 8(a) and Rule 8(b) “are the same.” Dominguez, 226 F.3d at 1239
           n.4.
                  22
                         The former Fifth Circuit has indicated, however, that an “entire count
           should not be dismissed [as duplicitous] when a less drastic ruling will suffice,” such
           as requiring the government to elect on which charge it would proceed. United States
           v. Goodman, 285 F.2d 378, 380 (5th Cir. 1960).

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                 Accordingly, the undersigned concludes that the indictment should not be

           dismissed.

                                     (iv)   Rule 14

                 The defendants alternatively argue that severance is appropriate under Rule 14

           because they will suffer compelling prejudice in that: (1) the admission of evidence

           relating to Damiani would cause prejudicial spillover for the other defendants as juror

           confusion would arise; and (2) the evidence relating to Damiani and H.W. is prejudicial

           in that they were seeking to obtain double the amount in loans than were Hunter and

           Dominique. The undersigned is unpersuaded.

                 The undersigned concludes that the defendants’ arguments relating to severance

           do not demonstrate that any of the situations identified by the Eleventh Circuit in

           United States v. Chandler as require severance under Rule 14. See footnote 18 supra.

           The defendants have not argued that joinder will lead to the denial of a constitutional

           right. Chandler, 382 F.3d at 1123. They also have not argued that there are a large

           number of defendants, a number of standards of proof, or a massive volume of

           evidence. Id. at 1124. Instead, the two conspiracies that the defendants allege to be

           charged are characterized as straightforward by the defendants. [See Doc. 48 ¶ 9;

           Doc. 72 at 7]. They also have not argued that Damiani has been charged with a crime

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           that is significantly different from those charged against his co-defendants. See id.

           at 1125.    Even if they had raised this argument, the superseding indictment

           demonstrates that the charges are related, and the evidence submitted by the

           government removes any question that the alleged scheme by the defendants was not

           part of one conspiracy. See footnote 19 supra.

                 The defendants do argue that evidence against Damiani will not be admissible

           against his co-defendants, but the Eleventh Circuit has indicated that such evidence

           must be “compelling” such that the jurors would not be able to compartmentalize the

           evidence even with a limiting instruction. Chandler, 382 F.3d at 1123-24; see also Hill,

           643 F.3d at 828. The defendants have not explained how any evidence relating solely

           to Damiani would be sufficiently prejudicial to mandate severance. The Court does not

           find the evidence that Damiani through H.W. sought loans doubled to those sought by

           Hunter and Dominique to have any prejudicial spillover effect for two reasons. First,

           this evidence is relevant to the single conspiracy charged by the government. Second,

           even if the evidence were only relevant to Damiani, it does not mandate severance,

           especially given the Eleventh Circuit’s recent decision in United States v. Lopez where

           two co-defendants were tried along with two co-conspirators who were also being

           prosecuted for murdering a fellow drug dealer, his wife, and their two young children.

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           Lopez, --- F.3d at ----, 2011 WL 3570298 at *14. Despite the jury being subjected to

           autopsy reports, graphic photos of the victims, and testimony about the murders, the

           Eleventh Circuit held that there was no abuse of discretion in trying the defendants

           together where: (1) the district court instructed the jury to compartmentalize the

           evidence through a number of jury instructions throughout the trial, id. at *14-15; and

           (2) the evidence presented at trial showed compelling evidence of the co-defendants’

           guilt, id. at *15-16. The undersigned recognizes that the procedural posture between

           this case (pre-trial motions stage) and the Lopez case (post-trial appeal) are different,

           but if a court’s curative instructions to a jury can alleviate prejudicial evidence of a

           murder that was relevant to only two co-defendants, then the undersigned fails to see

           why curative instructions to the jury that Damiani’s conduct should be considered

           separately from that of his co-defendants would not alleviate any prejudice in this case.

                 The undersigned also concludes that the defendants’ other arguments do not

           demonstrate that a severance is required. That the government will not be prejudiced

           by having two separate trials, [Doc. 72 at 7], seems to be irrelevant because the

           standard for severance is whether the defendant or the government would suffer

           prejudice by a joint trial. See FED. R. CRIM. P. 14(a). Also, there will be no jury

           confusion about the government charging two separate conspiracies because as

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           discussed above, the government only charged one conspiracy. Finally, because the

           undersigned finds no rimless wheel conspiracy was alleged, this does not provide any

           basis for severance under Rule 14.23

                 Accordingly, the undersigned concludes that Counts 1 and 4 relating to Damiani

           should not be severed under Rule 14(a).

                 Based on the reasoning above, the undersigned RECOMMENDS that the

           motions to sever, [Docs. 48, 54, 59, 144], be DENIED.

                        2.     Amended Motion to Sever and Motion to Strike Surplusage

                               a.     Contentions of the Parties

                 D. Saulters argues that Count 1 of the superseding indictment alleges a classic

           rimless wheel conspiracy by raising four separate conspiracies as follows: (1) Mossy,

           White, Ivery, Wilson, and the Saulters brothers sought to defraud Wells Fargo by

           submitting false loan applications by Hunter and Dominique; (2) Mossy, White, Ivery,


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                        Additionally, even if the evidence at trial ultimately demonstrates that two
           conspiracies existed, the district court can provide jury instructions for multiple
           conspiracies to account for this variance. See United States v. Moore, 525 F.3d 1033,
           1044 (11th Cir. 2008). It is also not error to join separate conspiracies “if they are part
           of the same series of acts or transactions,” Hill, 643 F.3d at 829 (quoting Weaver,
           905 F.2d at 1476), and the transactions in this case are unquestionably related given that
           the straw borrowers were being used to defraud Wells Fargo in obtaining loans for units
           at the same Chappell Property development.

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           Wilson, and Damiani sought to defraud Wells Fargo by submitting a false loan

           application of H.W.; (3) Mossy and the Saulters brothers were involved in mortgage

           fraud by using Hunter as a straw borrower to obtain property in Amityville, New York;

           and (4) Mossy and the Saulters brothers were involved in mortgage fraud in 2007 using

           Hunter as a straw borrower to obtain property in Levittown, New York. [Doc. 132-1

           at 2-3]. Given these four alleged conspiracies, D. Saulters seeks to have the allegations

           relating to Damiani in Count 1 severed as well as the substantive Count 4 relating to

           Damiani severed. [Id. at 4, 12]. He alternatively seeks to have the indictment dismissed

           for failure to charge one distinct conspiracy. [Doc. 132 at 2]. D. Saulters argues that

           severance is appropriate because it alleges a rimless wheel conspiracy, thereby entitling

           him to a separate trial from Damiani pursuant to Rule 8(b). [Doc. 132-1 at 4-5, 8].

           Specifically, D. Saulters asserts that there are no allegations that he knew of or

           participated in the scheme involving the H.W. loans and Damiani or that Damiani knew

           of or participated in the loans involving Hunter and Dominique. [Id. at 8]. D. Saulters

           asserts that the indictment fails to allege a connection between the conspiracy involving

           him and the one involving Damiani. [Id. at 8-9]. D. Saulters also seeks severance

           under Rule 14 on the basis of prejudicial spillover from the evidence relating to

           Damiani. [Id. at 10-11].

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                 Besides severance under Rules 8 or 14, D. Saulters also seeks to have the

           separate conspiracies alleged in Count 1 relating to the New York fraud schemes struck

           as surplusage under FED. R. CIV. P. 7(d), but he asks that the Court delay ruling on the

           request to strike the surplusage until the District Judge hears evidence at trial relating

           to the relevance of this surplusage language. [Id. at 12-13].

                 The government responds that the superseding indictment does not constitute a

           rimless wheel conspiracy because the defendants worked closely with other

           conspirators on the three sets of properties that the straw borrowers were to purchase.

           [Doc. 139 at 10-11]. The government also argues that the straw borrower transactions

           were part of the same series of acts or transactions in that the straw borrowers were

           seeking to buy properties from the Chappell Property complex, were seeking to defraud

           Wells Fargo, used similar fraudulent information in the loan applications, and sought

           to close the loan at the same attorney’s office at the same time. [Id. at 11-12]. The

           government further rebuts D. Saulters’s arguments by asserting that: (1) although H.W.

           sought twice the loan proceeds, the loans sought were virtually identical; and (2) there

           was substantial identity of facts and participants. [Id. at 12-14]. The government next

           asserts that D. Saulters will not suffer compelling prejudice from a joint trial of all

           defendants because the counts in the indictment are properly joined and D. Saulters has

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           only provided conclusory allegations of prejudice. [Id. at 16]. Finally, the government

           argues that it is not appropriate to strike language from the superseding indictment

           because the language relating to Hunter’s role as a straw borrower for the New York

           property is pertinent to the conspiracy in that they establish the prior relationship

           between Mossy, the Saulters brothers, and Hunter and establish the Saulters brothers’

           motive to join the conspiracy to purchase. [Id. at 18].

                              b.     Analysis

                 The undersigned concludes that D. Saulters is not entitled to have the indictment

           dismissed or the charges relating to Damiani severed for the reasons outlined above in

           discussion of Defendants’ motions to sever. As for D. Saulters’s motion to strike

           surplusage, the undersigned concludes that the motion should be denied for the reasons

           below.

                 A “court may strike surplusage from the indictment” upon a defendant’s motion

           to strike. FED. R. CRIM. P. 7(d); United States v. Brye, 318 Fed. Appx. 878, 880

           (11th Cir. Mar. 13, 2009). “The inclusion of clearly unnecessary language in an

           indictment that could serve only to inflame the jury, confuse the issues, and blur the

           elements necessary for conviction under the separate counts involved surely can be

           prejudicial.” United States v. Bullock, 451 F.2d 884, 888 (5th Cir. 1971). As a result,

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           surplusage should be stricken if “it is clear that the allegations are not relevant to the

           charge and are inflammatory and prejudicial.” United States v. Awan, 966 F.2d 1415,

           1426 (11th Cir. 1992). Since this is an exacting standard, a court may reserve ruling on

           the motion to strike surplusage until it “has heard evidence that will establish the

           relevance of the allegedly surplusage language.” Id.

                 The undersigned concludes that D. Saulters has not demonstrated that the

           allegations relating to the use of Hunter as a straw borrower in New York was

           irrelevant and inflammatory and prejudicial. Instead of trying to make this showing,

           D. Saulters instead requests that this request be deferred until trial. [Doc. 132-1 at 13].

           Although the District Court is authorized to delay ruling on the motion, Awan, id., the

           defendant must attempt to show that the surplusage would be prejudicial. Here,

           D. Saulters merely states that the New York loan schemes are unrelated to the Atlanta

           conspiracy and substantive charges in the indictment and do not involve White, Ivery,

           or Wilson.    [Doc. 132-1 at 12-13].        This argument implicates the irrelevance

           requirement for striking surplusage and accordingly does not address the requirements

           that the information be inflammatory and prejudicial. By failing to proffer arguments

           as to these factors, the undersigned concludes that the District Court need not delay

           ruling on the motion until trial.

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                 Even if D. Saulters had further elaborated why the information in the indictment

           was surplusage that had to be stricken, the undersigned would still conclude that the

           motion should be denied. As the government argues, this information shows a prior

           relationship with the Saulters brothers and Hunter in New York mortgage fraud

           schemes, which in turn suggests that the Saulters brothers intended to use Hunter as a

           straw borrower in the Atlanta scheme to defraud Wells Fargo. [See Doc. 139 at 18].

           Also, the New York fraud scheme provides background about Mossy and Saulters

           brothers’ use of Hunter as a straw borrower. See Swanson v. United States, No. 1:08-

           cv-1180, 2011 WL 2150139, *6 (S.D. Ind. May 25, 2011) (surplusage that provided

           context and background would not have warranted a motion to strike). As a result, the

           undersigned concludes that this information should not be stricken as surplusage.

                 Accordingly, the undersigned RECOMMENDS that D. Saulters’ amended

           motion to sever and motion to strike surplusage, [Doc. 132], be DENIED.

           V.    Conclusion

                 For the reasons discussed above, the undersigned RECOMMENDS that:

           (1) Moses Damiani’s Motion to Suppress Statements, [Doc. 51], be DENIED;

           (2) Willie Wilson's Preliminary Motion for Disclosure of Items or Statements Arguably

           Subject to Suppression and Motion to Suppress, [Doc. 120], be DENIED;

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           (3)   Todd   Milton   Ivery’s   Amended      Motion   to   Suppress,   [Doc.   133];

           (4) Damon Saulters’ motion to sever, [Doc. 48], be DENIED AS MOOT;

           (5) Moses Damiani’s, Waddell White’s and Justin Saulters’ motions to sever,

           [Docs. 54, 59, 144], be DENIED; and (6) D. Saulters’ amended motion to sever and

           motion to strike surplusage, [Doc. 132], be DENIED.

                 The undersigned has now ruled upon all pretrial motions, and has not been

           advised of any problems preventing the scheduling of trial. Therefore, this case is

           CERTIFIED READY FOR TRIAL.

                 IT IS SO CERTIFIED AND RECOMMENDED, this the 23rd day of

           September, 2011.



                                                ALAN J. BAVERMAN
                                                UNITED STATES MAGISTRATE JUDGE




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